                 Case 6:24-bk-03843-LVV             Doc 21      Filed 08/30/24         Page 1 of 1

[6ocdmrc] [ORDER CONDITIONALLY DENYING MOTION TO RECONSIDER/REINSTATE]




                                         ORDERED.
Dated: August 30, 2024




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                                Case No.
                                                                                      6:24−bk−03843−LVV
                                                                                      Chapter 7

Chaim Levilev




                    Debtor*                     /

             ORDER CONDITIONALLY DENYING MOTION TO RECONSIDER DISMISSAL

    THIS CASE came on for consideration on the Debtor's Motion to Reconsider Dismissal (Document No. 20
). After reviewing the record, the Court finds that the Motion is Conditionally Denied, as the clerk has noted
deficiencies to the petition and/or schedules of this debtor(s) as indicated below.

Filing Fee Not Paid.

   Accordingly, it is

         ORDERED:

         1. If the debtor(s) do not file appropriate documents with the Court within 28 days of the entry
         of this order, Motion is denied without further notice of hearing.

         2. If the debtor(s) do file timely documents, the Court will review the pleadings and enter
         appropriate order.

The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
